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 8

 9                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
10                                 AT SAN FRANCISCO

11   AMERICAN FEDERATION OF                            NO. 3:25-cv-01780-WHA
     GOVERNMENT EMPLOYEES, AFL-CIO,
12   et al.,                                           PLAINTIFF STATE OF
                                                       WASHINGTON’S CORRECTED
13                            Plaintiffs,              MOTION FOR PRELIMINARY
                                                       INJUNCTION
14      v.
                                                       APRIL 9, 2025, 8:00 AM
15   UNITED STATES OFFICE OF
     PERSONNEL MANAGEMENT, et al.,
16
                              Defendants.
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     PLAINTIFF STATE OF WASHINGTON’S                             ATTORNEY GENERAL OF WASHINGTON
                                                                       1125 Washington Street SE
     CORRECTED MOTION FOR                                                   PO Box 40100
     PRELIMINARY INJUNCTION –                                          Olympia, WA 98504-0100
     NO. 3:25-cv-01780-WHA                                                  (360) 753-6200
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 1                CORRECTED MOTION FOR PRELIMINARY INJUNCTION

 2          TO DEFENDANTS:

 3          PLEASE TAKE NOTICE that as soon as counsel may be heard in Courtroom 12,

 4   19th Floor, United States District Court, Northern District of California, located at 450 Golden

 5   Gate Avenue, San Francisco, CA, Plaintiff State of Washington will move the Court pursuant to

 6   Rule 65 of the Federal Rules of Civil Procedure and Rule 65-1 of the Civil Local Rules for a

 7   preliminary injunction to:

 8          1.      Order that the relief this Court previously awarded to organizational Plaintiffs in

 9   its amended Temporary Restraining Order dated March 13, 2025, Dkt. No. 44, and in its oral

10   and written decisions granting preliminary injunctive relief, Dkt. Nos. 120, 132, extends to the

11   State of Washington.

12          2.      Order relief Defendants the Department of Agriculture, the Department of

13   Commerce, the Department of Defense, the Department of Education, the Department of Health

14   and Human Services, the Department of Homeland Security, the Department of Housing and

15   Urban Development, and the Department of the Interior to comply with all provisions of the

16   order referenced in 1, above, including immediately offering reinstatement to any and all

17   probationary employees terminated since January 20, 2025, ceasing any and all use of the

18   template termination notice provided by Defendant OPM and/or Acting Director Ezell since

19   January 20, 2025, immediately advising all probationary employees terminated since January

20   20, 2025, that the notice and termination has been found to be unlawful by the United States

21   District Court for the Northern District of California, and ceasing any termination of

22   probationary employees at the direction of defendants OPM and Acting Director Ezell.

23

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                                                                            1125 Washington Street SE
     CORRECTED MOTION FOR                                                        PO Box 40100
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     NO. 3:25-cv-01780-WHA                                                       (360) 753-6200
         Case 3:25-cv-01780-WHA           Document 163       Filed 03/28/25     Page 3 of 3




 1          3.     Order that any terminations of these agencies’ employees may only be made by

 2   the agencies themselves in conformity with the Civil Service Reform Act and the Reduction in

 3   Force Act and any other Constitutional or statutory requirement.

 4          4.     Order that in seven calendar days from the date of the Court’s order, relief

 5   defendants Department of Commerce, Department of Education, Department of Health and

 6   Human Services, Department of Homeland Security, and Department of Housing and Urban

 7   Development shall submit a list of all probationary employees terminated since January 20,

 8   2025, with an explanation as to each of what has been done to comply with this Order.

 9          This Motion is supported by the accompanying Memorandum in Support of

10   Plaintiff State of Washington’s Motion for Preliminary Injunction; the Declarations of

11   Alexandra Avila and Cynthia Alexander; and the complete records filed in this case.

12          DATED this 28th day of March 2025.

13                                               NICHOLAS W. BROWN
                                                 Attorney General
14
                                                 /s/ Cynthia L. Alexander
15                                               TERA M. HEINTZ, SBN #241414
                                                 CRISTINA SEPE, SBN #308023
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     PRELIMINARY INJUNCTION –                                             Olympia, WA 98504-0100
     NO. 3:25-cv-01780-WHA                                                     (360) 753-6200
